         Case 1:18-cr-00834-PAE Document 632 Filed 04/08/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                    18-CR-834-06 (PAE)
                       -v-
                                                                          ORDER
 FAHEEM WALTER,

                                      Defendant.


PAUL A. ENGELMAYER, District Judge:

       On August 11, 2021, defendant Faheem Walter filed a motion for compassionate

release. See Dkt. 609. The Court directs the Government to file a response by April 22, 2022.


       SO ORDERED.


                                                        
                                                   __________________________________
                                                         PAUL A. ENGELMAYER
                                                         United States District Judge
Dated: April 8, 2022
       New York, New York
